976 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Norman Wilson RYMAN, Plaintiff-Appellant,v.Jon P. GALLEY, Warden;  Richard Hawkins, In charge of lawlibrary, Defendants-Appellees.
    No. 92-6801.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 30, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (CA-91-1762-K)
      Norman Wilson Ryman, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Timothy James Paulus, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Norman Wilson Ryman appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ryman v. Galley, No. CA-91-1762-K (D. Md. July 21, 1992).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We deny Ryman's "Request for Temporary Restraining Order."
      
    
    